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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

STANARD LEROY PHILLIPS,                             §
                                                    §
               Plaintiff,                           §   CIVIL ACTION NO. 5:20-CV-00042-RWS-CMC
                                                    §
v.                                                  §
                                                    §
BRYAN COLLIER, ET AL.,                              §
                                                    §
               Defendants.                          §
                                                    §

                                               ORDER
         Plaintiff Stanard Phillips, a prisoner of the Texas Department of Criminal Justice,
 Correctional Institutions Division proceeding pro se, filed this lawsuit under 42 U.S.C. § 1983 and
 the Religious Land Use and Institutionalized Persons Act complaining of alleged violations of his
 rights (Docket No. 1). This Court referred the case to the United States Magistrate Judge pursuant
 to 28 U.S.C. § 636(b)(1) and (3) and the Amended Order for the Adoption of Local Rules for the
 Assignment of Duties to United States Magistrate Judges. The named Defendants are TDCJ
 Executive Director Bryan Collier, Deputy Director of Religious Services Timothy Jones, Rabbi
 David Goldstein, Chaplain Steven Gibbs, and Warden Polk of the Telford Unit. Plaintiff filed a
 motion to amend his complaint to substitute Lorie Davis for Collier (Docket No. 18), stating that
 Davis replaced Collier as Executive Director, which the Magistrate Judge recommended be
 granted. Respondent says this is not correct, because Collier remains the Executive Director of
 TDCJ.

         In his original complaint, Plaintiff asserted he is not being given kosher meals, he is not
 allowed to properly perform religious rites or prayers and cannot celebrate religious holidays (except
 for Pesach) or Sabbath services. He also complained Christians and Muslims receive hot foods
 for fast breaking while the food service departments puts foods together that Jewish inmates like
 himself cannot eat.
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        Defendants filed a motion to dismiss (Docket No. 10), in response to which Plaintiff filed

 a number of additional documents, including an outline for a Jewish interest correspondence

 course, a memorandum to him from chaplains Gibbs and Atkinson at the Telford Unit, and four
 grievances. After review of the pleadings, including the documents Plaintiff filed in response,

 the Magistrate Judge issued a Report recommending Defendants’ motion to dismiss be granted as

 to the Plaintiff’s First Amendment claims against the TDCJ Director, Deputy Director for Religious

 Services Timothy Jones, and Rabbi Goldstein.        The Magistrate Judge further recommended

 Defendants be ordered to answer the remaining claims, consisting of Plaintiff’s RLUIPA claims and
 his First Amendment claims against Chaplain Gibbs and Warden Polk. Based upon Plaintiff’s

 representations, the Magistrate Judge recommended that Lorie Davis be substituted for Bryan Collier.

        Plaintiff did not file objections to the Magistrate Judge’s Report.        Defendants filed

 objections contending Plaintiff was incorrect in asserting that Collier is no longer the Executive

 Director of TDCJ.       Defendants explain that Lorie Davis was formerly the director of the
 Correctional Institutions Division of TDCJ, but she has now retired. Because the Magistrate Judge’s

 recommendation was based upon a representation by the Plaintiff which was in error, this objection

 is sustained, and the portion of the Report recommending substitution of Davis for Collier cannot

 be adopted.

        The Court has conducted a careful de novo review of those portions of the Magistrate Judge’s
 proposed findings and recommendations to which objections were filed. See 28 U.S.C. § 636(b)(1)

 (district judge shall “make a de novo determination of those portions of the report or specified

 proposed findings or recommendations to which objection is made.”) Upon such de novo review,

 the Court has determined the Report of the Magistrate Judge is correct except for that portion

 recommending substitution of Lorie Davis for Bryan Collier. It is accordingly




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         ORDERED that Defendants’ objection is sustained and the Report of the Magistrate Judge

 (Docket No. 21) is ADOPTED as the opinion of the District Court except insofar as it recommends

 substitution of Lorie Davis for Bryan Collier. It is further

         ORDERED that Defendants’ motion to dismiss (Docket No. 10) is GRANTED as to the

 Plaintiff’s First Amendment claims against Executive Director Bryan Collier, Deputy Director of
     .
 Religious Services Timothy Jones, and Rabbi Goldstein. The motion to dismiss is DENIED in

 all other regards. It is further

         ORDERED that Plaintiff’s motion to amend his complaint to substitute Lorie Davis for

 Bryan Collier (Docket No. 18) is DENIED. It is further

         ORDERED that Defendants shall answer the remaining claims in the lawsuit, consisting of
 Plaintiff’s RLUIPA claims and his First Amendment claims against Chaplain Gibbs and Warden
 Polk, within 14 days after the date of entry of this order. The deadlines in the scheduling order
 previously entered by the Court (Docket No. 6) shall go into effect upon the filing of the answer.

        So ORDERED and SIGNED this 25th day of September, 2020.




                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE




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